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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Lewis T. Babcock, Judge


  Civil Action No. 14-cv-01534-LTB-NRN
                   (Consolidated with Civil Action No. 16-cv-01524-LTB-NRN)

  PARKER EXCAVATING, INC., a Colorado corporation,

        Plaintiff,

  v.

  LAFARGE WEST, INC., a Delaware corporation,
  MARTIN MARIETTA MATERIALS, INC., a North Carolina corporation, and
  FIDELITY AND DEPOSIT COMPANY OF MARYLAND, a Maryland corporation,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  _____________________________________________________________________________

        As further set forth on the record at the pretrial conference held on November

  1, 2018, IT IS HEREBY ORDERED as follows:

        1. Defendant Lafarge West, Inc’s Motion for Partial Summary Judgment on 42

  U.S.C. § 1981 Retaliation Claim [Doc # 255] is DENIED WITHOUT PREJUDICE;

        2. A second pretrial conference is set for November 15, 2018 at 9:00 a.m.; and

        3.   The parties shall file an Amended Final Pretrial Order by 11:00 a.m. on

  November 14, 2018.



  Dated: November 1, 2018 in Denver, Colorado.

                                              BY THE COURT:

                                                s/Lewis T. Babcock
                                              LEWIS T. BABCOCK, JUDGE
